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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


SUNDUS JABER,

             Plaintiff,                            Case No. 24-cv-10790

v.
                                                   HON. MARK A.
GOLDSMITH

35TH DISTRICT COURT et al.,

          Defendants.
__________________________________/


    ORDER DENYING MOTIONS TO DISMISS FILED BY (1) 35TH
 DISTRICT COURT, JUDGE RONALD W. LOWE, AND JUDGE JAMES
  PLAKAS (Dkt. 12); AND (2) DEFENDANTS TERESA PATTON AND
   REGIONAL MANAGED ASSIGNED COUNSEL OFFICE (Dkt. 13)

      Defendants 35th District Court, Judge Ronald W. Lowe, and James Plakas

filed a motion to dismiss (Dkt. 12) Plaintiff Sundus Jaber’s complaint (Dkt. 1) on

May 17, 2024. Defendants Teresa Patton and Regional Managed Assigned

Counsel Office filed a motion to dismiss on June 7, 2024 (Dkt. 13). As Plaintiff

has since filed a timely amended complaint as a matter of course under Federal

Rule of Civil Procedure 15(a) (Dkt. 14), Defendants’ motions to dismiss are denied

without prejudice. Defendants must respond to the amended complaint within

fourteen days of the issuance of this order.
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      The Court notes that Defendants did not include local rule certifications in

their motions to dismiss as required by this Court’s order regarding protocols on

filings and communication with the Court. See 4/2/24 Order (Dkt. 3). Future

noncompliant filings will be struck.


      SO ORDERED.


Dated: June 11, 2024                         s/Mark A. Goldsmith
      Detroit, Michigan                      MARK A. GOLDSMITH
                                             United States District Judge
